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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                           )
UNITED STATES OF AMERICA,                  )
                                           )
              v.                           )      No. 1:16-cr-00154 (KBJ)
                                           )
LUZ IRENE FAJARDO CAMPOS,                  )
                                           )
              Defendant.                   )
                                           )

                                          ORDER

       If counsel is not present in the courtroom within 15 minutes of the time a hearing

is scheduled to start, it is this Court’s policy, to vacate and reschedule the court

appearance and to assess against absent counsel any fees or costs that the Court incurs

in connection with the vacated hearing (e.g., foreign-language interpreters), absent

extraordinary and unforeseen circumstances that are communicated to the Court in

advance of that time. A Status Conference was scheduled in this matter for October 2,

2018, at 10:30 AM, and defense counsel was not present in the courtroom within 15

minutes after the scheduled start time. Accordingly, it is hereby

       ORDERED, that the Status Conference set for October 2, 2018, is VACATED

and RESET for October 4, 2018, at 10 AM. It is

       FURTHER ORDERED that defense counsel shall pay the fees of the Spanish

language interpreter who was present at the vacated hearing.



Date: October 3, 2018                      Ketanji Brown Jackson
                                           KETANJI BROWN JACKSON
                                           United States District Judge
